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 9                               UNITED STATES BANKRUPTCY COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11
         In re                                               Case No. 16-30063 DM
12
         YELLOW CAB COOPERATIVE, INC.,                       Chapter 11
13
                                Debtor.                      NOTICE OF HEARING ON
14                                                           LIQUIDATING TRUSTEE’S
                                                             OBJECTION TO ADMINISTRATIVE
15                                                           EXPENSE CLAIM OF TRANSDEV
                                                             SERVICES, INC. [CLAIM NO. 362]
16

17                                                           Date: December 28, 2018
                                                             Time: 1:30 p.m.
18                                                           Place: 450 Golden Gate Avenue
                                                                    Courtroom 17, 16th Floor
19                                                                  San Francisco, CA 94102

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22               PLEASE TAKE NOTICE that Randy Sugarman, the duly-appointed Liquidating

23      Trustee of the Yellow Cab Cooperative, Inc. Liquidating Trust, has filed his Objection to

24      Administrative Expense Claim of Transdev Services, Inc. [Claim No. 362] (the “Objection”),

25      seeking entry of an Order disallowing in its entirety the administrative expense claim of

26      Transdev Services, Inc. (“Transdev”) as well as any alleged general unsecured claim of Transdev

27      on the grounds that: (1) Transdev fails to assert grounds for administrative expense priority; (2)

28      at best, Transdev’s claim constitutes a pre-petition general unsecured claim, and Transdev failed

                 NOTICE OF HEARING ON LIQUIDATING TRUSTEE’S OBJECTION TO ADMINISTRATIVE
                         EXPENSE CLAIM OF TRANSDEV SERVICES, INC. [CLAIM NO. 362]
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 1      to file a proof of claim asserting any such claim by the bar date; and (3) the debtor has no

 2      liability for the claim alleged by Transdev in any event.

 3             PLEASE TAKE FURTHER NOTICE that the Objection is based upon the Objection,

 4      the Declaration of Randy Sugarman in support of the Objection, all other pleadings and papers

 5      on file in this matter, and any other documents properly before the Court.

 6             PLEASE TAKE FURTHER NOTICE that a hearing on the Objection will take place

 7      on December 28, 2018 at 1:30 p.m. (the “Hearing Date”) before the Honorable Dennis Montali

 8      in Courtroom 17 of the U.S. Bankruptcy Court for the Northern District of California, San

 9      Francisco Division, which is located at 450 Golden Gate Avenue, 16th Floor, San Francisco,

10      California 94102.

11             PLEASE TAKE FURTHER NOTICE that Bankruptcy Local Rules 3007-1 and 9014-1

12      of the United States Bankruptcy Court for the Northern District of California prescribe the

13      procedures to be followed. Any opposition to the Objection shall be filed with the Court and

14      served upon undersigned counsel at least fourteen (14) days before the Hearing Date. Where a

15      factual dispute is involved, the initial hearing on the Objection shall be deemed a status

16      conference at which the Court will not receive evidence. Where the Objection involves only a

17      matter of law, the matter may be argued at the initial hearing.

18       Dated: November 28, 2018                          MICHELSON LAW GROUP
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20                                                         By:            / s / Randy Michelson
                                                                             Randy Michelson
21                                                                  Attorneys for Liquidating Trustee
                                                                             Randy Sugarman
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                         EXPENSE CLAIM OF TRANSDEV SERVICES, INC. [CLAIM NO. 362]
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